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 1                                                                       The Honorable Richard A. Jones

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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9   BLACK LIVES MATTER SEATTLE-KING
     COUNTY, ABIE EKENEZAR, SHARON
10   SAKAMOTO, MURACO KYASHNA-                          No.    2:20-CV-00887 RAJ
     TOCHA, ALEXANDER WOLDEAB,
11   NATHALIE GRAHAM, AND ALEXANDRA                     STIPULATED ORDER ENTERING A
     CHEN,                                              PRELIMINARY INJUNCTION
12
                                  Plaintiffs,
13
                   vs.
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     CITY OF SEATTLE,
15
                                  Defendant.
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            WHEREAS on June 12, 2020, this Court conducted a hearing on Plaintiffs’ Motion for
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     Temporary Restraining Order, having reviewed briefs and supporting materials from the parties and
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     hearing argument from counsel. See Dkts. 6-22, 25-33, 35-36.
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            WHEREAS, on June 12, 2020, this Court entered a Temporary Restraining Order against
21
     Defendant, City of Seattle, terminable on June 26, 2020. Dkt. 34.
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      STIPULATED ORDER ENTERING A PRELIMINARY INJUNCTION - 1                           Peter S. Holmes
      2:20-CV-00887 RAJ                                                                Seattle City Attorney
                                                                                       701 5th Avenue, Suite 2050
                                                                                       Seattle, WA 98104-7095
                                                                                       (206) 684-8200
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 1          WHEREAS, on June 17, 2020, the parties stipulated and agreed to entry of a preliminary

 2   injunction without any admission by Defendant of wrongdoing or violation of law.

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            Based on the foregoing and the record before the Court, the Court hereby ORDERS:
 4
        (1) The City of Seattle, including the Seattle Police Department and any other officers,
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            departments, agencies, or organizations under the Seattle Police Department’s control
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            (collectively, “the City”), is hereby enjoined from employing chemical irritants or projectiles
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            of any kind against persons peacefully engaging in protests or demonstrations. This injunction
 8
            includes:
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            (1) any chemical irritant such as and including CS Gas (“tear gas”) and OC spray (“pepper
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            spray”) and (2) any projectile such as and including flash-bang grenades, “pepper balls,”
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            “blast balls,” rubber bullets, and foam-tip projectiles. This Order does not preclude individual
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            officers from taking necessary, reasonable, proportional, and targeted action to protect against
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            a specific imminent threat of physical harm to themselves or identifiable others or to respond
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            to specific acts of violence or destruction of property. Further, tear gas may be used only if
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            (a) efforts to subdue a threat by using alternative crowd measures, including pepper spray, as
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            permitted by this paragraph, have been exhausted and ineffective and (b) SPD’s Chief of
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            Police has determined that use of tear gas is the only reasonable alternative available. The
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            Chief of Police may only authorize limited and targeted use of tear gas and must direct it to
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            those causing violent or potentially life-threatening activity. To the extent that chemical
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            irritants or projectiles are used in accordance with this paragraph, they shall not be deployed
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            indiscriminately into a crowd and to the extent reasonably possible, they should be targeted
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            at the specific imminent threat of physical harm to themselves or identifiable others or to
23
            respond to specific acts of violence or destruction of property.

      STIPULATED ORDER ENTERING A PRELIMINARY INJUNCTION - 2                             Peter S. Holmes
      2:20-CV-00887 RAJ                                                                  Seattle City Attorney
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                                                                                         Seattle, WA 98104-7095
                                                                                         (206) 684-8200
            Case 2:20-cv-00887-RAJ Document 42 Filed 06/17/20 Page 3 of 3



 1        (2) In the event that Plaintiffs seek relief for an alleged violation of this Order, the City must

 2        respond to the motion for relief within 24 hours.

 3        (3) Because this is a non-commercial case, the balance of hardships favors Plaintiffs, and there

 4        is no realistic likelihood of harm to the City of Seattle from enjoining its conduct, the Court

 5        waives the security bond requirement.

 6        (4) This Order will expire on September 30, 2020.

 7        (5) This Order is extendable or terminable by stipulation of the parties.

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 9        DATED this 17th day of June, 2020.

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11
                                                         A
                                                         The Honorable Richard A. Jones
12                                                       United States District Judge
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     STIPULATED ORDER ENTERING A PRELIMINARY INJUNCTION - 3                              Peter S. Holmes
     2:20-CV-00887 RAJ                                                                   Seattle City Attorney
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